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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


    LACRISTA A. BAGLEY, individually
    and on behalf of all others similarly
    situated,                                               3:24-cv-00770
                                                  CASE NO. ________________________

                        Plaintiff,
                                                        JURY TRIAL DEMANDED
          vs.

    AT&T, INC.,

                        Defendant.

                              CLASS ACTION COMPLAINT

          Plaintiff Lacrista A. Bagley (“Plaintiff”) brings this action on behalf of herself,

    and all others similarly situated against Defendant, AT&T Inc. (“AT&T” or

    “Defendant”), and alleges as follows:

                                     I.   INTRODUCTION

          1.      This lawsuit stems from a massive and preventable data breach involving

    the personally identifiable information (“PII”) of more than 70 million current and

    former AT&T customers (the “Data Breach” or “Breach”). 1

          2.      Due to AT&T’s inadequate data security, millions of current and former

    customers of Defendant had their social security numbers, full names, email and mailing

    addresses, phone numbers, and dates of birth, as well as AT&T account numbers and




1
    https://www.npr.org/2024/03/30/1241863710/att-data-breach-dark-web.

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    passcodes were leaked on the dark web. 2

           3.     On March 30, 2024, AT&T publicly announced it was investigating a data

    breach involving the PII of more than 70 million current and former customers leaked

    on the dark web. 3

           4.     According to AT&T approximately 7.6 million current account holders

    and 65.4 million former account holders have been impacted. 4

           5.     While AT&T did not give specifics, AT&T claims the stolen PII was

    leaked on the dark web approximately two weeks ago, or on or around March 16, 2024. 5

           6.     It is unclear why AT&T waited two or more weeks to notify victims that

    their PII was on the dark web.

           7.     So far, the AT&T has not identified the source of the data leak, at least

    publicly. 6

           8.     However, AT&T did disclose that the data set leaked on the dark web

    appears to be from 2019 or earlier. 7

           9.     AT&T states it is communicating with all victims of the data breach and

    will be offering credit monitoring, where applicable.

           10.    Defendant’s failure to timely detect and report the Data Breach made the

    victims vulnerable to identity theft without any warnings to monitor their financial


2
  Id.
3
  https://about.att.com/story/2024/addressing-data-set-released-on-dark-web.html.
4
  https://www.npr.org/2024/03/30/1241863710/att-data-breach-dark-web.
5
  Id.
6
  Id.
7
  Id.

                                               2
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    accounts or credit reports to prevent unauthorized use of their PII.

           11.    Defendant knew or should have known that each victim of the Data Breach

    deserved prompt and efficient notice of the Data Breach and assistance in mitigating the

    effects of PII misuse.

           12.    In failing to adequately protect Plaintiff’s and the Class’s PII, failing to

    adequately notify them of the Breach, and by obfuscating the nature of the breach,

    Defendant violated state and federal laws and harmed Plaintiff and the Class.

           13.    Plaintiff and members of the proposed Class are victims of Defendant’s

    negligence and inadequate cyber security measures.

           14.    Moreover, AT&T failed to properly use up-to-date security practices to

    prevent the Data Breach.

           15.    Plaintiff Lacrista A. Bagley is a Data Breach victim. 8

           16.    Accordingly, Plaintiff, on her own behalf and on behalf of a class of

    similarly situated individuals, brings this lawsuit seeking injunctive relief, damages, and

    restitution, together with costs and reasonable attorneys’ fees, the calculation of which

    will be based on information in Defendant’s possession.

                                         II.   PARTIES

           17.    Plaintiff Lacrista A. Bagley is a natural person and citizen of Oklahoma,

    where she intends to remain. Plaintiff is a Data Breach victim and received a Notice of

    Data Breach Email informing her that her that her full name, email address, mailing


8
    See Exhibit 1 (“Notice of Data Breach Email”).


                                                3
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    address, phone number, social security number, date of birth, AT&T account number

    and passcode were compromised in the Data Breach. 9

              18.    Defendant, AT&T Inc. is a corporation organized under the state laws of

    Delaware with its headquarters and principal place of business located in Dallas, Texas.

                                III.   JURISDICTION & VENUE

              19.    This Court has subject matter jurisdiction over this action under 28 U.S.C.§

    1332(d) because this is a class action wherein the amount in controversy exceeds the

    sum or value of $5,000,000, exclusive of interest and costs, there are more than 100

    members in the proposed class, and Plaintiff and Defendant are citizens of different

    states.

              20.    This Court has personal jurisdiction over Defendant because Defendant

    does substantial business in this District and its principal place of business is located in

    this District.

              21.    Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a

    substantial part of the events or omissions giving rise to the claim occurred in this

    District.

                                IV.    FACTUAL ALLEGATIONS
The Data Breach

              22.    AT&T is one of the largest telecommunications companies in the world

    with annual revenue of $163.71 billion. 10


9
  Id.
10
   https://www.investopedia.com/articles/markets/030216/worlds-top-10-
telecommunications-companies.asp.

                                                  4
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        23.    AT&T was incorporated in 1983 and has its headquarters in Dallas,

 Texas. 11

        24.    AT&T’s services and products include wireless communications,

 data/broadband and internet services, local and long-distance telephone services,

 telecommunications equipment, managed networking, and feature film, and television. 12

        25.    Through the services AT&T provided, Defendant collected and maintained

 Plaintiff and the Class’s PII in its computer systems.

        26.    In collecting and maintaining Plaintiff’s and the Class’s PII, Defendant

 implicitly agreed that it would protect and safeguard that PII by complying with state

 and federal laws and regulations and applicable industry standards.

        27.    Defendant was in possession of Plaintiff and the Class’s PII before, during,

 and after the Data Breach.

        28.    On March 30, 2024, AT&T posted the following message 13 on its website:



                              [IMAGE ON NEXT PAGE]




11
   Id.
12
   Id.
13
   https://about.att.com/story/2024/addressing-data-set-released-on-dark-web.html.

                                             5
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      29.    According to the notice above, AT&T determined on approximately

March 16, 2024, certain AT&T data-specific fields were contained in a data set that was



                                          6
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 released on the dark web, a known marketplace for illegal activity. 14

        30.    The information exposed on the dark web included sensitive PII such as:

 social security numbers, full names, email and mailing addresses, phone numbers, and

 dates of birth, as well as AT&T account numbers and passcodes. 15

        31.    AT&T’s cyber and data security systems were completely inadequate and

 allowed cybercriminals to obtain files containing a treasure trove of millions of

 individuals highly sensitive PII, including that of Plaintiff and the Class.

        32.    As a result of the Data Breach, Plaintiff’s and the Class’s personal and

 highly sensitive information is in the hands of cybercriminals who deliberately placed

 their PII on the dark web to be used for identity theft and fraud.

        33.    Two weeks after Plaintiff’s and the Class’s PII was leaked on the dark web,

 AT&T finally began notifying victims of the Data Breach via email and letter. 16

        34.    AT&T claims it does not have any evidence of data exfiltration, however,

 the proof is in the pudding. Plaintiff’s and the Class’s PII is now on the dark web, as

 confirmed by AT&T. 17

        35.    Despite AT&T’s duties to safeguard PII, AT&T did not follow industry

 standard practices in securing Plaintiff’s and the Class’s PII, as evidenced by the Data

 Breach.

        36.    In response to the Data Breach, AT&T contends it has or will be taking


14
   Id.
15
   https://www.npr.org/2024/03/30/1241863710/att-data-breach-dark-web.
16
   See Exhibit 1.
17
   https://about.att.com/story/2024/addressing-data-set-released-on-dark-web.html.

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 steps to address the incident. 18 Although AT&T failed to expand on what these alleged

 “steps” are, such steps should have been in place before the Data Breach.

          37.    Through the emails and letters Defendant sent to Plaintiff and the Class,

 Defendant also recognized the actual imminent harm and injury that flowed from the

 Data Breach and encouraged Data Breach victims to do the following:

                 “In addition to resetting your AT&T passcode, we encourage
                customers to remain vigilant by monitoring account activity
                and credit reports. You can set up free fraud alerts from
                nationwide credit bureaus—Equifax, Experian, and
                TransUnion. You can also request and review your free credit
                report at any time via Freecreditreport.com. 19

          38.    Even though Social Security numbers were exposed here, cybercriminals

 need not harvest a person’s Social Security number or financial account information in

 order to commit identity fraud or misuse Plaintiff’s and the Class’s PII. Cybercriminals

 can cross-reference the data stolen from the Data Breach and combine with other sources

 to create “Fullz” packages, which can then be used to commit fraudulent account activity

 on Plaintiff’s and the Class’s financial accounts.

          39.    Plaintiff was not offered any credit monitoring services from AT&T to

 help shoulder the burden of the Breach. Even if AT&T did offer credit monitoring

 services it would not adequately address the lifelong harm that victims will face

 following the Data Breach. Indeed, the Breach involves PII that cannot be changed, such

 as Social Security numbers and dates of birth.



18
     Id.
19
     See Exhibit 1.

                                             8
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          40.   Even with complimentary credit monitoring services, the risk of identity

 theft and unauthorized use of Plaintiff’s and Class Members’ PII is still substantially

 high. The fraudulent activity resulting from the Data Breach may not come to light for

 years.

          41.   On information and belief, Defendant failed to adequately train and

 supervise its IT and data security agents and employees on reasonable cybersecurity

 protocols or implement reasonable security measures, causing them to lose control over

 Plaintiff and the Class’s PII.

          42.   Defendant’s negligence is evidenced by its failure to prevent the Data

 Breach and stop cybercriminals from accessing the PII.

 The Data Breach was a Foreseeable Risk of which Defendant were on Notice.

          43.   Defendant’s data security obligations were particularly important given the

 substantial increase in cyberattacks and/or data breaches in similar industries preceding

 the date of the breach.

          44.   Indeed, AT&T is no stranger to data breaches.

          45.   In March 2023, for instance, the company notified 9 million wireless

 customers that their customer information had been accessed in a breach of a third-party

 marketing vendor. 20

          46.   In August 2021 — in an incident AT&T said is not connected to the latest

 breach — a hacking group claimed it was selling data relating to more than 70 million



20
     https://www.npr.org/2024/03/30/1241863710/att-data-breach-dark-web.

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 AT&T customers. At the time, AT&T disputed the source of the data. It was re-leaked

 online earlier this month. According to a Mar. 22 TechCrunch article, a new analysis of

 the leaked dataset points to the AT&T customer data being authentic. "Some AT&T

 customers have confirmed their leaked customer data is accurate," TechCrunch reported.

 "But AT&T still hasn't said how its customers' data spilled online." 21

           47.   A 2023 report from cyber intelligence firm Cyble said that U.S.

 telecommunications companies are a lucrative target for hackers. The study attributed

 the majority of recent data breaches to third-party vendors. "These third-party breaches

 can lead to a larger scale supply-chain attacks and a greater number of impacted users

 and entities globally," the report said. 22

           48.   At all times AT&T was fully aware and on notice of the risk a data breach

 such as this posed but did nothing to prevent it.

           49.   In light of recent high profile data breaches Defendant knew or should have

 known that their electronic records and Plaintiff and the Class’s PII would be targeted

 by cybercriminals.

           50.   In 2021, a record 1,862 data breaches occurred, resulting in approximately

 293,927,708 sensitive records being exposed, a 68% increase from 2020. 23 The 330




21
     Id.
22
     Id.
23
  2021 Data          Breach    Annual     Report,      ITRC,             chrome-
extension://efaidnbmnnnibpcajpcglclefindmkaj/https://www.wsav.com/wp-
content/uploads/sites/75/2022/01/20220124_ITRC-2021-Data-Breach-Report.pdf.



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 reported breaches reported in 2021 exposed nearly 30 million sensitive records

 (28,045,658), compared to only 306 breaches that exposed nearly 10 million sensitive

 records (9,700,238) in 2020. 24

            51.    Indeed, cyberattacks against the both the legal industry have become

 increasingly common for over ten years, with the FBI warning as early as 2011 that

 cybercriminals were “advancing their abilities to attack a system remotely” and “[o]nce a

 system is compromised, cyber criminals will use their accesses to obtain PII.” The FBI

 further warned that that “the increasing sophistication of cyber criminals will no doubt

 lead to an escalation in cybercrime.” 25

            52.    Therefore, the increase in such attacks, and attendant risk of future attacks,

 was widely known to the public and to anyone in Defendant’s industry, including AT&T.

 Plaintiff’s Experience

           53.    Plaintiff received a Notice of Data Breach Email, dated March 30, 2024,

notifying her that her PII had been identified by AT&T as being compromised in the Data

Breach. 26

            54.    Defendant deprived Plaintiff of the earliest opportunity to guard herself

 against the Data Breach’s effects by failing to notify her about it for weeks.

            55.    As a result of the Data Breach, Plaintiff spent hours dealing with the



24
     Id.
25
              Gordon             M.            Snow            Statement,             FBI
https://archives.fbi.gov/archives/news/testimony/cyber- security-threats-to-the-financial-
sector.
26
   See Exhibit 1.

                                                 11
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consequences of the Data Breach, which includes time spent verifying the legitimacy of

the Notice of Data Breach Email, self-monitoring her accounts and credit reports to

monitor suspicious and fraudulent activity. This time has been lost forever and cannot be

recaptured. Plaintiff has spent and will continue to spend considerable time and effort

monitoring her accounts to protect herself from identity theft for the rest of her life.

       56.    Plaintiff fears for her personal financial security and uncertainty over what

PII was exposed in the Data Breach and disclosed on the dark web. Plaintiff has and is

experiencing feelings of anxiety, sleep disruption, stress, fear, and frustration because of

the Data Breach. This goes far beyond allegations of mere worry or inconvenience; it is

exactly the sort of injury and harm to a Data Breach victim that the law contemplates

and addresses.

       57.    Plaintiff suffered actual injury in the form of damages to and diminution

in the value of Plaintiff’s PII—a form of intangible property that Plaintiff entrusted to

Defendant, which was compromised in and as a result of the Data Breach.

       58.    Plaintiff has suffered imminent and impending injury arising from the

substantially increased risk of fraud, identity theft, and misuse resulting from her PII

being placed in the hands of unauthorized third parties and released on the dark web.

       59.    Plaintiff has a continuing interest in ensuring that her PII, which, upon

information and belief, remains backed up in Defendant’s possession, is protected, and

safeguarded from future breaches.

       60.    Plaintiff has also suffered injury directly and proximately caused by the

Data Breach, including: (a) the theft and publishing of Plaintiff’s valuable PII on the


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dark web; (b) the imminent and certain impending injury flowing from fraud and identity

theft posed by Plaintiff’s PII being placed in the hands of cyber criminals; (c) damages

to and diminution in value of Plaintiff’s PII; (d) loss of the benefit of the bargain with

Defendant to provide adequate and reasonable data security—i.e., the difference in value

between what Plaintiff should have received from Defendant and Defendant’s defective

and deficient performance of that obligation by failing to provide reasonable and

adequate data security and failing to protect Plaintiff’s PII; and (e) continued risk to

Plaintiff’s PII, which remains in the possession of Defendant and which is subject to

further breaches so long as Defendant fails to undertake appropriate and adequate

measures to protect the PII that was entrusted to Defendant.

Plaintiff and the Proposed Class Face Significant Risk of Continued Identity Theft

       61.      Plaintiff members of the proposed Class have suffered injury from the

theft of their PII that can be directly traced to Defendant.

       62.      As a result of Defendant’s failure to prevent the Data Breach, Plaintiff and

the proposed Class have suffered and will continue to suffer damages, including

monetary losses, lost time, anxiety, and emotional distress. They have suffered or are at

an increased risk of suffering:

             a. The loss of the opportunity to control how their PII is used;

             b. The diminution in value of their PII;

             c. The compromise and continuing publication of their PII;

             d. out-of-pocket costs associated with the prevention, detection, recovery,

                and remediation from identity theft or fraud;

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             e. Lost opportunity costs and lost wages associated with the time and effort

                expended addressing and attempting to mitigate the actual and future

                consequences of the Data Breach, including, but not limited to, efforts spent

                researching how to prevent, detect, contest, and recover from identity theft

                and fraud;

             f. Delay in receipt of tax refund monies;

             g. Unauthorized use of stolen PII; and

             h. The continued risk to their PII, which remains in Defendant’s possession

                and is subject to further breaches so long as Defendant fails to undertake

                the appropriate measures to protect the PII in their possession.

       63.      Stolen PII is one of the most valuable commodities on the criminal

information black market. According to Experian, a credit-monitoring service, stolen PII

can be worth up to $1,000.00 depending on the type of information obtained.

       64.      The value of Plaintiff’s and the Class’s PII on the black market is

considerable. Stolen PII trades on the black market for years, and criminals frequently post

stolen PII openly and directly on various “dark web” internet websites, making the

information publicly available, for a substantial fee of course.

       65.      It can take victims years to spot identity theft, giving criminals plenty of

time to use that information for cash.

       66.      One such example of criminals using PII for profit is the development of

“Fullz” packages.

       67.      Cyber-criminals can cross-reference two sources of PII to marry

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unregulated data available elsewhere to criminally stolen data with an astonishingly

complete scope and degree of accuracy in order to assemble complete dossiers on

individuals. These dossiers are known as “Fullz” packages.

       68.     The development of “Fullz” packages means that stolen PII from the Data

Breach can easily be used to link and identify it to Plaintiff and the proposed Class’s phone

numbers, email addresses, and other unregulated sources and identifiers. In other words,

even if certain information such as emails, phone numbers, or credit card numbers may

not be included in the PII stolen by the cyber-criminals in the Data Breach, criminals can

easily create a Fullz package and sell it at a higher price to unscrupulous operators and

criminals (such as illegal and scam telemarketers) over and over. That is exactly what is

happening to Plaintiff and members of the proposed Class, and it is reasonable for any

trier of fact, including this Court or a jury, to find that Plaintiff’s and the Class’s stolen

PII is being misused, and that such misuse is fairly traceable to the Data Breach.

       69.     Defendant disclosed the PII of Plaintiff and the Class for criminals to use

in the conduct of criminal activity. Specifically, Defendant opened up, disclosed, and

exposed the PII of Plaintiff and the Class to people engaged in disruptive and unlawful

business practices and tactics, including online account hacking, unauthorized use of

financial accounts, and fraudulent attempts to open unauthorized financial accounts (i.e.,

identity fraud), all using the stolen PII.

       70.     Defendant’s failure to properly notify Plaintiff and members of the Class

of the Data Breach exacerbated Plaintiff’s and the Class’s injury by depriving them of the

earliest ability to take appropriate measures to protect their PII and take other necessary


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steps to mitigate the harm caused by the Data Breach.

Defendant failed to adhere to FTC guidelines.

       71.    According to the Federal Trade Commission (“FTC”), the need for data

security should be factored into all business decision-making. To that end, the FTC has

issued numerous guidelines identifying best data security practices that businesses, such

as Defendant, should employ to protect against the unlawful exposure of PII.

       72.    In 2016, the FTC updated its publication, Protecting PII: A Guide for

Business, which established guidelines for fundamental data security principles and

practices for business. The guidelines explain that businesses should:

              a.     protect the sensitive consumer information that they keep;

              b.     properly dispose of PII that is no longer needed;

              c.     encrypt information stored on computer networks;

              d.     understand their network’s vulnerabilities; and

              e.     implement policies to correct security problems.

       73.    The guidelines also recommend that businesses watch for large amounts

of data being transmitted from the system and have a response plan ready in the event of

a breach.

       74.    The FTC recommends that companies not maintain information longer

than is needed for authorization of a transaction; limit access to sensitive data; require

complex passwords to be used on networks; use industry-tested methods for security;

monitor for suspicious activity on the network; and verify that third-party service

providers have implemented reasonable security measures.

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          75.    The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect consumer data, treating the failure to employ

reasonable and appropriate measures to protect against unauthorized access to

confidential consumer data as an unfair act or practice prohibited by Section 5 of the

Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. Orders resulting from these

actions further clarify the measures businesses must take to meet their data security

obligations.

          76.    Defendant’s failure to employ reasonable and appropriate measures to

protect against unauthorized access to employees’ PII constitutes an unfair act or practice

prohibited by Section 5 of the FTCA, 15 U.S.C. § 45.

                          V.    CLASS ACTION ALLEGATIONS

          77.    Plaintiff sues on behalf of herself and the proposed nationwide class

(“Class”) defined as follows, pursuant to Federal Rule of Civil Procedure 23(b)(2) and

(b)(3):

                All individuals residing in the United States whose PII was
                compromised in the Data Breach AT&T disclosed on or
                around March 30, 2024.

          Excluded from the Class is Defendant, its agents, affiliates, parents, subsidiaries,

any entity in which Defendant has a controlling interest, any of Defendant’s officers or

directors, any successors, and any Judge who adjudicates this case, including their staff

and immediate family.

          78.    Plaintiff reserves the right to amend the class definition.

          79.    This action satisfies the numerosity, commonality, typicality, and


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adequacy requirements under Fed. R. Civ. P. 23.

             a.     Numerosity. Plaintiff is representative of the Class, consisting of

                    at least 70,000,000 individuals, far too many to join in a single

                    action;

             b.     Ascertainability. Members of the Class are readily identifiable

                    from information in Defendant’s possession, custody, and control;

             c.     Typicality. Plaintiff’s claims are typical of class claims as each arises

                    from the same Data Breach, the same alleged violations by

                    Defendant,    and    the     same unreasonable manner of notifying

                    individuals about the Data Breach.

             d.     Adequacy. Plaintiff will fairly and adequately protect the proposed

                    Class’s interests. Her interests do not conflict with the Class’s

                    interests, and she has retained counsel experienced in complex class

                    action litigation and data privacy to prosecute this action on the

                    Class’s behalf, including lead counsel.

             e.     Commonality.        Plaintiff’s   and   the   Class’s    claims    raise

                    predominantly common fact and legal questions that a class wide

                    proceeding can answer for the Class. Indeed, it will be necessary to

                    answer the following questions:

                  i. Whether Defendant had a duty to use reasonable care in

                     safeguarding Plaintiff’s and the Class’s PII;

                  ii. Whether Defendant failed to implement and maintain reasonable


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                         security procedures and practices appropriate to the nature and

                         scope of the information compromised in the Data Breach;

                  iii. Whether Defendant was negligent in maintaining, protecting,

                         and securing PII;

                  iv. Whether Defendant breached contract promises to safeguard

                         Plaintiff’s and the Class’s PII;

                   v. Whether Defendant took reasonable measures to determine the

                         extent of the Data Breach after discovering it;

                  vi. Whether Defendant’s Breach Notice was reasonable;

                 vii. Whether the Data Breach caused Plaintiff’s and the Class’s

                         injuries;

                 viii. What the proper damages measure is; and

                  ix. Whether Plaintiff and the Class are entitled to damages, treble

                         damages, or injunctive relief.

      80.    Further, common questions of law and fact predominate over any

individualized questions, and a class action is superior to individual litigation or any

other available method to fairly and efficiently adjudicate the controversy. The damages

available to individual plaintiffs are insufficient to make individual lawsuits

economically feasible.




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                             VI.    CAUSES OF ACTION

                                       COUNT I
                                       Negligence

       81.    Plaintiff realleges all previous paragraphs as if fully set forth below.

       82.    Plaintiff and the Class’s PII were entrusted to Defendant. Defendant owed

to Plaintiff and the Class a duty to exercise reasonable care in handling and using the PII

in its care and custody, including implementing industry-standard security procedures

sufficient to reasonably protect the information from the Data Breach, and to promptly

detect attempts at unauthorized access.

       83.    Defendant owed a duty of care to Plaintiff and members of the Class

because it was foreseeable that Defendant’s failure to adequately safeguard their PII in

accordance with state-of-the-art industry standards concerning data security would result

in the compromise of that PII—just like the Data Breach that ultimately came to pass.

Defendant acted with wanton and reckless disregard for the security and confidentiality

of Plaintiff’s and the Class’s PII by disclosing and providing access to this information

to unauthorized third parties and by failing to properly supervise both the way the PII

was stored, used, and exchanged, and those in its employ who were responsible for

making that happen.

       84.    Defendant owed to Plaintiff and members of the Class a duty to notify them

within a reasonable timeframe of any breach to the security of their PII. Defendant also

owed a duty to timely and accurately disclose to Plaintiff and members of the Class the

scope, nature, and occurrence of the Data Breach. This duty is required and necessary



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for Plaintiff and the Class to take appropriate measures to protect their PII, to be vigilant

in the face of an increased risk of harm, and to take other necessary steps to mitigate the

harm caused by the Data Breach.

       85.     Defendant owed these duties to Plaintiff and members of the Class because

they are members of a well-defined, foreseeable, and probable class of individuals whom

Defendant knew or should have known would suffer injury-in-fact from Defendant’s

inadequate security protocols. Defendant actively sought and obtained Plaintiff’s and the

Class’s PII.

       86.     The risk that unauthorized persons would attempt to gain access to the PII

and misuse it was foreseeable. Given that Defendant held vast amounts of PII, it was

inevitable that unauthorized individuals would attempt to access Defendant’s databases

containing the PII — whether by malware or otherwise.

       87.     PII is highly valuable, and Defendant knew, or should have known, the

risk in obtaining, using, handling, emailing, and storing the PII of Plaintiff and the Class

and the importance of exercising reasonable care in handling it. Especially with multiple

other law firms experiencing data breaches.

       88.     Defendant breached its duties by failing to exercise reasonable care in

protecting the PII of Plaintiff and the Class, supervising and monitoring its employees,

agents, contractors, vendors, and suppliers, and in handling and securing the PII of

Plaintiff and the Class which actually and proximately caused the Data Breach and

Plaintiff’s and the Class’s injury. Defendant further breached its duties by failing to

provide reasonably timely notice of the Data Breach to Plaintiff and members of the


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Class, which actually and proximately caused and exacerbated the harm from the

Data Breach and Plaintiff’s and members of the Class’s injuries-in-fact. As a direct and

traceable result of Defendant’s negligence and/or negligent supervision, Plaintiff and the

Class have suffered or will suffer damages, including monetary damages, increased risk

of future harm, embarrassment, humiliation, frustration, and emotional distress.

       89.    Defendant’s breach of their common-law duties to exercise reasonable

care and their failures and negligence actually and proximately caused Plaintiff and

members of the Class actual, tangible, injury-in-fact and damages, including, without

limitation, the theft of their PII by criminals, improper disclosure of their PII, lost benefit

of their bargain, lost value of their PII, and lost time and money incurred to mitigate and

remediate the effects of the Data Breach that resulted from and were caused by

Defendant’s negligence, which injury-in-fact and damages are ongoing, imminent,

immediate, and which they continue to face.

                                        COUNT II
                                     Negligence Per Se

       90.    Plaintiff realleges all previous paragraphs as if fully set forth below.

       91.    Pursuant to the FTC Act, 15 U.S.C. § 45, Defendant had a duty to provide

fair and adequate computer systems and data security practices to safeguard Plaintiff’s

and the Class’s PII.

       92.    Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice

by businesses, such as Defendant, of failing to use reasonable measures to protect



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customers or, in this case, employees’ PII. The FTC publications and orders promulgated

pursuant to the FTC Act also form part of the basis of Defendant’s duty to protect

Plaintiff’s and the members of the Class’s PII.

       93.    Defendant breached its respective duties to Plaintiff and Class Members

under the FTC Act by failing to provide fair, reasonable, or adequate computer systems

and data security practices to safeguard PII.

       94.    Defendant’s duty to use reasonable care in protecting confidential data

arose not only as a result of the statutes and regulations described above, but also because

Defendant is bound by industry standards to protect confidential PII.

       95.    Defendant violated its duty under Section 5 of the FTC Act by failing to

use reasonable measures to protect Plaintiff’s and the Class’s PII and not complying with

applicable industry standards as described in detail herein. Defendant’s conduct was

particularly unreasonable given the nature and amount of PII Defendant collected and

stored and the foreseeable consequences of a data breach, including, specifically, the

immense damages that would result to individuals in the event of a breach, which

ultimately came to pass.

       96.    The harm that has occurred is the type of harm the FTC Act is intended to

guard against. Indeed, the FTC has pursued numerous enforcement actions against

businesses that, because of their failure to employ reasonable data security measures and

avoid unfair and deceptive practices, caused the same harm as that suffered by Plaintiff

and the Class.

       97.    But for Defendant’s wrongful and negligent breach of the duties owed to

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Plaintiff and members of the Class, Plaintiff and members of the Class would not have

been injured.

         98.    The injury and harm suffered by Plaintiff and members of the Class were

the reasonably foreseeable result of Defendant’s breach of its duties. Defendant knew or

should have known that it was failing to meet its duties and that its breach would cause

Plaintiff and members of the Class to suffer the foreseeable harms associated with the

exposure of their PII.

         99.    Had Plaintiff and the Class known that Defendant did not adequately

protect their PII, Plaintiff and members of the Class would not have allowed Defendant

to access their PII.

         100.   Defendant’s various violations and their failure to comply with applicable

laws and regulations constitutes negligence per se.

         101.   As a direct and proximate result of Defendant’s negligence per se, Plaintiff

and the Class have suffered harm, including loss of time and money resolving fraudulent

charges; loss of time and money obtaining protections against future identity theft; lost

control over the value of PII; harm resulting from damaged credit scores and

information; and other harm resulting from the unauthorized use or threat of

unauthorized use of stolen PII, entitling them to damages in an amount to be proven at

trial.

         102.   Additionally, as a direct and proximate result of Defendant’s negligence

per se, Plaintiff and Class members have suffered and will suffer the continued risks of

exposure of their PII, which remain in Defendant’s possession and is subject to further


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 unauthorized disclosures so long as Defendant fails to undertake appropriate and

 adequate measures to protect their PII in its continued possession.

                                        COUNT III
                                     Unjust Enrichment

       103.     Plaintiff realleges all previous paragraphs as if fully set forth below.

       104.     This claim is pleaded in the alternative to the breach of contract claim(s).

       105.     Plaintiff and members of the Class conferred a benefit upon Defendant in

in the form of their PII, which allowed Defendant to render services and make revenue

therefrom.

       106.     Defendant appreciated or had knowledge of the benefits conferred upon it

by Plaintiff and the Class. Defendant also benefited from the receipt of Plaintiff’s and the

Class’s PII, as this was used to facilitate the services it sold.

        107.    Under principles of equity and good conscience, Defendant should not be

 permitted to retain the full value of the benefit because Defendant failed to adequately

 protect their PII. Plaintiff and the proposed Class would not have provided their PII to

 Defendant and/or a client of Defendant had they known Defendant would not adequately

 protect their PII.

        108.    Defendant should be compelled to disgorge into a common fund for the

 benefit of Plaintiff and members of the Class all unlawful or inequitable proceeds

 received by them because of their misconduct and Data Breach.

                                        COUNT IV
                                     Invasion of Privacy

        109.    Plaintiff realleges all previous paragraphs as if fully set forth below.

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       110.     Plaintiff and Class Members had a legitimate expectation of privacy

regarding their PII and were accordingly entitled to the protection of this information

against disclosure to unauthorized third parties.

       111.     Defendant owed a duty to Plaintiff and Class Member to keep their PII

confidential.

       112.     Defendant affirmatively and recklessly disclosed Plaintiff’s and Class

Members’ PII to unauthorized third-parties.

       113.     The unauthorized disclosure and/or acquisition (i.e., theft) by a third party

of Plaintiff’s and Class Members’ PII is highly offensive to a reasonable person.

       114.     Defendant’s reckless and negligent failure to protect Plaintiff’s and Class

Members’ PII constitutes an intentional interference with Plaintiff’s and the Class

Members’ interest in solitude or seclusion, either as to their person or as to their private

affairs or concerns, of a kind that would be highly offensive to a reasonable person.

       115.     Defendant’s failure to protect Plaintiff’s and Class Members’ PII acted

with a knowing state of mind when it permitted the Data Breach because it knew its

information security practices were inadequate.

       116.     Defendant knowingly did not notify Plaintiff and Class Members in a

timely fashion about the Data Breach.

       117.     Because Defendant failed to properly safeguard Plaintiff’s and Class

Members’ PII, Defendant had notice and knew that its inadequate cybersecurity practices

would cause injury to Plaintiff and the Class.

       118.     As a proximate result of Defendant’s acts and omissions, Plaintiff’s and

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 the Class Members’ private and sensitive PII was stolen by a third party and is now

 available for disclosure and redisclosure without authorization, causing Plaintiff and the

 Class to suffer damages.

        119.    Defendant’s wrongful conduct will continue to cause great and irreparable

 injury to Plaintiff and the Class since their PII are still maintained by Defendant with its

 inadequate cybersecurity system and policies.

        120.    Plaintiff and Class Members have no adequate remedy at law for the

 injuries relating to Defendant’s continued possession of their sensitive and confidential

 records. A judgment for monetary damages will not end Defendant’s inability to

 safeguard Plaintiff’s and the Class’s PII.

        121.    Plaintiff, on behalf of herself and Class Members, seeks injunctive relief to

 enjoin Defendant from further intruding into the privacy and confidentiality of Plaintiff’s

 and Class Members’ PII.

        122.    Plaintiff, on behalf of herself and Class Members, seeks compensatory

 damages for Defendant’s invasion of privacy, which includes the value of the privacy

 interest invaded by Defendant, the costs of future monitoring of their credit history for

 identity theft and fraud, plus prejudgment interest, and costs.

                                   COUNT V
                          BREACH OF IMPLIED CONTRACT

       123.    Plaintiff incorporates by reference all preceding factual allegations as though

fully alleged here.




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       124.   Defendant acquired and maintained the PII of Plaintiff and the Class

including their Social Security numbers and other sensitive information to provide services.

       125.   In exchange, Defendant entered into implied contracts with Plaintiff and the

Class in which Defendant agreed to comply with its statutory and common law duties to

protect Plaintiff’s and Class Members’ PII and timely notify them of a Data Breach.

       126.   Based on Defendant’s representations, legal obligations, and acceptance of

Plaintiff’ and the Class Members’ PII, Defendant had an implied duty to safeguard their

PII through the use of reasonable industry standards.

       127.   Defendant breached the implied contracts by failing to safeguard Plaintiff’s

and Class Members’ PII and failing to provide them with timely and accurate notice of the

Data Breach. Indeed, it took Defendant months to warn Plaintiff and Class Member of

their imminent risk of identity theft.

       128.   As a direct and proximate result of Defendant’s breach of implied contract,

Plaintiff and the Class Members have suffered damages, including foreseeable

consequential damages that Defendant knew about when it requested Plaintiff’s and the

Class Members’ PII.

       129.   Plaintiff and the Class have suffered injuries as described herein, and are

entitled to actual and punitive damages, statutory damages, and reasonable attorneys’ fees

and costs, in an amount to be proven at trial.

                            VII. PRAYER FOR RELIEF
        Plaintiff and the Class demand a jury trial on all claims so triable and request

 that the Court enter an order:



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    A.    Certifying this case as a class action on behalf of Plaintiff and the proposed

          Class, appointing Plaintiff as class representatives, and appointing their

          counsel to represent the Class;

    B.    Awarding declaratory and other equitable relief as is necessary to

          protect the interests of Plaintiff and the Class;

    C.    Awarding injunctive relief as is necessary to protect the interests of

          Plaintiff and the Class;

    D.    Enjoining Defendant from further deceptive practices and making

          untrue statements about the Data Breach and the stolen PII;

    E.    Awarding Plaintiff and the Class damages that include applicable

          compensatory, exemplary, punitive damages, and statutory damages, as

          allowed by law;

    F.    Awarding restitution and damages to Plaintiff and the Class in an

          amount to be determined at trial;

    G.    Awarding attorneys’ fees and costs, as allowed by law;

    H.    Awarding prejudgment and post-judgment interest, as provided by law;

    I.    Granting Plaintiff and the Class leave to amend this complaint to

          conform to the evidence produced at trial; and

    J.    Granting such other or further relief as may be appropriate

          under the circumstances.




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                             VIII.    JURY DEMAND

      Plaintiff hereby demands that this matter be tried before a jury.

Dated: April 1, 2024                            Respectfully submitted,

                                                /s/: William B. Federman
                                                William B. Federman
                                                Tex. Bar No. 00794935
                                                Kennedy M. Brian*
                                                FEDERMAN & SHERWOOD
                                                212 Spring Valley Road
                                                Richardson, Texas 75081

                                                and

                                                10205 N. Pennsylvania Ave.
                                                Oklahoma City, OK 73120
                                                P: 405-235-1560
                                                F: 405-239-2112
                                                E: wbf@federmanlaw.com
                                                E: kpb@federmanlaw.com
                                                *Pro hac vice forthcoming




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